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               MDL No. 3089
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                                     Filed 10/11/23
                                             Filed 10/13/23
                                                      Page 1 Page
                                                             of 36 PageID:
                                                                   3 of 38 1




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


MILLARD ADKINS; ROSALYN                            Case No. 2:23-cv-21051
ANDERSON; ELI ERLICK; DONNA
BAILEY; ROSALIE JACKSON; RECOA                     CLASS ACTION COMPLAINT
RUSSELL; FRANK ANDERSON; and TINA
HALUSZKA, individually and on behalf of all        JURY TRIAL DEMANDED
others similarly situated,

       Plaintiffs,

               v.

RECKITT BENCKISER
PHARMACEUTICALS INC.; JOHNSON &
JOHNSON CONSUMER INC.; KENVUE
INC.; BAYER CORPORATION; and GSK
CONSUMER HEALTH, INC. d/b/a
HALEON,

       Defendants.


       Plaintiffs Millard Adkins; Rosalyn Anderson; Eli Erlick; Donna Bailey; Rosalie Jackson;

Recoa Russell; Frank Anderson; and Tina Haluszka (“Plaintiffs”), individually and on behalf of

all others similarly situated (proposed “Class Members”), bring this action against Defendants

Reckitt Benckiser Pharmaceuticals Inc. (“Reckitt”); Johnson & Johnson Consumer Inc. (“Johnson

& Johnson”); Kenvue Inc. (“Kenvue”); Bayer Corporation (“Bayer”); and GSK Consumer Health,

Inc. d/b/a Haleon (“Haleon”) (collectively, “Defendants”) and allege as follows based on personal

knowledge as to their own acts and on investigation conducted by counsel as to all other

allegations:

                                      INTRODUCTION




                                               1
       Case
         Case
            2:23-cv-21051
               MDL No. 3089
                          Document
                            Document
                                   1 173-3
                                     Filed 10/11/23
                                             Filed 10/13/23
                                                      Page 2 Page
                                                             of 36 PageID:
                                                                   4 of 38 2




        1.       On September 12, 2023, an FDA advisory panel unanimously voted 16-0 finding

that orally administered phenylephrine (“PE”) is not effective for treating nasal congestion. 1

        2.       Defendants designed, manufactured, advertised, marketed, distributed, and sold

orally administered PE-containing drugs which were advertised, marketed, warranted, and

indicated as treating nasal congestion (“PE Drugs”) despite PE being totally ineffective and

worthless in treating nasal congestion when taken orally.

        3.       PE indicated as an orally administered nasal decongestant is worthless, non-

merchantable, not fit for its ordinary purpose, and not effective for treating the indications

identified.

        4.       As a result, Defendants’ PE Drugs were misbranded and worthless or worth

substantially less than what Plaintiffs and Class Members paid for them.

        5.       Defendants’ claims were false, misleading, and contrary to scientific evidence,

leading Plaintiffs and Class Members to purchase PE Drugs which were ineffective and worthless

for treating nasal congestion.

        6.       This case arises out of Plaintiffs and Class Members’ purchase of Defendants’ PE

Drugs. Plaintiffs and Class Members have been injured as a result and are entitled to damages,

restitution, and equitable relief.

                                                  PARTIES

    I. Plaintiffs

        7.       Plaintiff Millard Adkins is a resident of Idamay, West Virginia. He purchases PE

Drugs frequently seeking relief from congestion caused by respiratory conditions. Within the last

three months, Plaintiff Adkins purchased Mucinex Fast-Max, Mucinex Sinus Max, Mucinex


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 https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-committee-meeting-
oral-phenylephrine

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        Case
           2:23-cv-21051
              MDL No. 3089
                         Document
                           Document
                                  1 173-3
                                    Filed 10/11/23
                                            Filed 10/13/23
                                                     Page 3 Page
                                                            of 36 PageID:
                                                                  5 of 38 3




NightShift, and Mucinex NightShift Sinus (designed, manufactured, advertised, marketed,

distributed, and sold by Reckitt). All of these PE Drugs were purchased in West Virginia. These

PE Drugs were ineffective in relieving Plaintiff Adkins’s congestion.

       8.      Plaintiff Rosalyn Anderson is a resident of Stevenson Ranch, California. Due to a

lung condition, she purchases PE Drugs several times per year. Between January and March of

2023, and for the past 10 years, Plaintiff Anderson purchased Mucinex Sinus Max (designed,

manufactured, advertised, marketed, distributed, and sold by Reckitt), Theraflu (designed,

manufactured, advertised, marketed, distributed, and sold by Haleon on and after July 18, 2022),

and Alka-Seltzer Plus Cold (designed, manufactured, advertised, marketed, distributed, and sold

by Bayer). All of these PE Drugs were purchased in California. These PE Drugs were ineffective

in relieving Plaintiff Anderson’s congestion.

       9.      Plaintiff Eli Erlick is a resident of New York, New York. In March 2023, he

purchased Tylenol Cold & Flu Severe Day & Night Caplets (designed, manufactured, advertised,

marketed, distributed, and sold by Johnson & Johnson before February 23, 2022, and by Kenvue

on and after February 23, 2022). All of these PE Drugs were purchased in New York. These PE

Drugs were ineffective in relieving Plaintiff Erlick’s congestion.

       10.     Plaintiff Donna Bailey is a resident of Weirton, West Virginia. In March 2023, she

purchased Sudafed PE (designed, manufactured, advertised, marketed, distributed, and sold by

Johnson & Johnson before February 23, 2022, and by Kenvue on and after February 23, 2022),

Tylenol Cough & Cold (designed, manufactured, advertised, marketed, distributed, and sold by

Johnson & Johnson before February 23, 2022, and by Kenvue on and after February 23, 2022),

and Tylenol Cold Multi-Symptom (designed, manufactured, advertised, marketed, distributed, and

sold by Johnson & Johnson before February 23, 2022, and by Kenvue on and after February 23,



                                                 3
       Case
         Case
            2:23-cv-21051
               MDL No. 3089
                          Document
                            Document
                                   1 173-3
                                     Filed 10/11/23
                                             Filed 10/13/23
                                                      Page 4 Page
                                                             of 36 PageID:
                                                                   6 of 38 4




2022). All of these PE Drugs were purchased in West Virginia. These PE Drugs were ineffective

in relieving Plaintiff Bailey’s congestion.

       11.     Plaintiff Rosalie Jackson is a resident of Ashland, Wisconsin. Within the past year,

Plaintiff Jackson has purchased Alka-Seltzer Plus PowerMax Gels (designed, manufactured,

advertised, marketed, distributed, and sold by Bayer). For many years, she has also purchased

Sudafed PE (designed, manufactured, advertised, marketed, distributed, and sold by Johnson &

Johnson before February 23, 2022, and by Kenvue on and after February 23, 2022), , various

Tylenol products containing phenylephrine including Tylenol Cough & Cold and Tylenol Sinus

(designed, manufactured, advertised, marketed, distributed, and sold by Johnson & Johnson before

February 23, 2022, and by Kenvue on and after February 23, 2022), and Benadryl Allergy D Plus

(designed, manufactured, advertised, marketed, distributed, and sold by Johnson & Johnson before

February 23, 2022, and by Kenvue on and after February 23, 2022), Robitussin Multi-Symptom

(designed, manufactured, advertised, marketed, distributed, and sold by Haleon on and after July

18, 2022), and Theraflu (designed, manufactured, advertised, marketed, distributed, and sold by

Haleon on and after July 18, 2022). All of these PE Drugs were purchased in Wisconsin. These PE

Drugs were ineffective in relieving Plaintiff Jackson’s congestion.

       12.     Plaintiff Recoa Russell is a resident of Mobile, Alabama. In June 2023, he

purchased Alka-Seltzer Plus Maximum Strength Day & Night Cold & Flu Liquid Gels (designed,

manufactured, advertised, marketed, distributed, and sold by Bayer) and Tylenol Cold & Flu

Severe (designed, manufactured, advertised, marketed, distributed, and sold by Johnson & Johnson

before February 23, 2022, and by Kenvue on and after February 23, 2022). All of these PE Drugs

were purchased in Alabama. These PE Drugs were ineffective in relieving Plaintiff Russell’s

congestion.



                                                4
      Case
        Case
           2:23-cv-21051
              MDL No. 3089
                         Document
                           Document
                                  1 173-3
                                    Filed 10/11/23
                                            Filed 10/13/23
                                                     Page 5 Page
                                                            of 36 PageID:
                                                                  7 of 38 5




       13.     Plaintiff Frank Anderson is a resident of Leesburg, Florida. In March of 2023, he

purchased Theraflu Severe Cold & Cough (designed, manufactured, advertised, marketed,

distributed, and sold by Haleon on and after July 18, 2022). For many years, he has purchased

Sudafed PE (designed, manufactured, advertised, marketed, distributed, and sold by Johnson &

Johnson before February 23, 2022, and by Kenvue on and after February 23, 2022), Tylenol Sinus,

Tylenol Cough & Cold, and Tylenol Cold Multi-Symptom (designed, manufactured, advertised,

marketed, distributed, and sold by Johnson & Johnson before February 23, 2022, and by Kenvue

on and after February 23, 2022), Benadryl Allergy D Plus (designed, manufactured, advertised,

marketed, distributed, and sold by Johnson & Johnson before February 23, 2022, and by Kenvue

on and after February 23, 2022), Mucinex Sinus Max, Mucinex Fast-Max, Mucinex Free From

Cold & Flu, and Mucinex Nightshift Sinus (designed, manufactured, advertised, marketed,

distributed, and sold by Reckitt), Robitussin Multi-Symptom (designed, manufactured, advertised,

marketed, distributed, and sold by Haleon on and after July 18, 2022), and Delsym Multi-Symptom

(designed, manufactured, advertised, marketed, distributed, and sold by Reckitt). All of these PE

Drugs were purchased in Florida. These PE Drugs were ineffective in relieving Plaintiff Frank

Anderson’s congestion.

       14.     Plaintiff Tina Haluszka is a resident of Worthington, Minnesota. In January 2023,

she purchased Mucinex Sinus max (designed, manufactured, advertised, marketed, distributed, and

sold by Reckitt) and Alka-Seltzer Plus Multi-Symptom (designed, manufactured, advertised,

marketed, distributed, and sold by Bayer), and Robitussin Multi-Symptom (designed,

manufactured, advertised, marketed, distributed, and sold by Haleon on and after July 18, 2022).

Plaintiff Haluszka uses these products daily due to allergies and makes the purchases several times




                                                5
      Case
        Case
           2:23-cv-21051
              MDL No. 3089
                         Document
                           Document
                                  1 173-3
                                    Filed 10/11/23
                                            Filed 10/13/23
                                                     Page 6 Page
                                                            of 36 PageID:
                                                                  8 of 38 6




per year. All of these PE Drugs were purchased in Minnesota. These PE Drugs were ineffective in

relieving Plaintiff Haluszka’s congestion.

   II. Defendants

       15.     Defendant Reckitt Benckiser Pharmaceuticals Inc. is a Delaware limited liability

corporation with its principal place of business in Parsippany, New Jersey. Reckitt Benckiser

Pharmaceuticals Inc. is a wholly owned subsidiary and the United States operational entity of

Reckitt Benckiser Group plc.

       16.     Defendant Johnson & Johnson Consumer Inc. is a Delaware corporation with its

principal place of business in Montgomery Township, New Jersey. Johnson & Johnson’s consumer

healthcare business, including its PE Drug brands, was spun off into Kenvue Inc. on February 23,

2022. Plaintiffs’ claims against Johnson & Johnson arise out of sales of PE Drugs by Johnson &

Johnson before February 23, 2022.

       17.     Defendant Kenvue Inc. is a Delaware corporation with its principal place of

business in Montgomery Township, New Jersey. Johnson & Johnson’s consumer healthcare

business, including its PE Drug brands, was spun off into Kenvue Inc. on February 23, 2022.

Plaintiffs’ claims against Kenvue arise out of sales of PE Drugs by Kenvue on and after February

23, 2022.

       18.     Defendant Bayer Corporation is an Indiana corporation with its principal place of

business in Whippany, New Jersey. Bayer Corporation is a wholly owned subsidiary and the

United States operational entity of Bayer AG.

       19.     Defendant GSK Consumer Health, Inc. d/b/a Haleon is a Delaware corporation. On

information and belief, GSK Consumer Health, Inc. d/b/a Haleon is a wholly owned subsidiary

and the United States operational entity of Haleon plc and has its principal place of business in



                                                6
       Case
         Case
            2:23-cv-21051
               MDL No. 3089
                          Document
                            Document
                                   1 173-3
                                     Filed 10/11/23
                                             Filed 10/13/23
                                                      Page 7 Page
                                                             of 36 PageID:
                                                                   9 of 38 7




Warren, New Jersey. GSK plc’s consumer healthcare business, including its PE Drug brands, was

spun off into Haleon plc on July 18, 2022. Plaintiffs’ claims against Haleon arise out of sales of

PE Drugs by Haleon on and after July 18, 2022.

                                  JURISDICTION AND VENUE

        20.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332(a) because

the matter in controversy exceeds $75,000 and is between citizens of different states.

        21.     This Court has subject-matter jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, (2) the action is a class action, (3) there are members

of the proposed Class who are diverse from Defendants, and (4) there are more than 100 Class

Members.

        22.     This Court has general personal jurisdiction over Defendants because Defendants

are citizens of this state, and the acts giving rise to Plaintiffs’ claims occurred in this state.

        23.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) because all

Defendants are residents of this district.

                                    FACTUAL ALLEGATIONS

  III. PE Drugs

        24.     Phenylephrine (“PE”) is a specific alpha-1 adrenergic receptor agonist that works

by temporarily constricting blood vessels.

        25.     PE is an over-the-counter (OTC) ingredient marketed in both single ingredient and

combination products. It has been available in the United States more than 75 years as well as

globally.

        26.     The PE drugs at issue in this case are produced in two forms:



                                                    7
          Case
            Case
               2:23-cv-21051
                 MDL No. 3089Document
                               Document
                                      1 173-3
                                         Filed 10/11/23
                                                Filed 10/13/23
                                                         Page 8Page
                                                                of 36 10
                                                                      PageID:
                                                                         of 38 8




                    a.      Phenylephrine hydrochloride

                    b.      Phenylephrine bitartrate

           27.      Phenylephrine hydrochloride was first approved on August 23, 1994. See FR Doc.

94-20456.

           28.      Phenylephrine bitartrate was first approved on August 1, 2006. See 71 FR 43358.

           29.      PE has largely been approved for the temporary relief of nasal congestion due to

the common cold, hay fever, or other respiratory allergies, or allergic rhinitis under the cough,

cold, allergy, bronchodilator, and anti-asthmatic drug products monograph (“final monograph” or

“CCABADP”).

     IV. Efficacy of Orally Administered PE for Nasal Decongestion

           30.      On May 1, 2006, two professors at the University of Florida, Dr. Leslie Hendeles,

PharmD Professor, Pharmacy and Pediatrics, and Dr. Randy Hatton, PharmD FCCP BCPS Clinical

Professor, Department of Pharmacotherapy and Translational Research College of Pharmacy

published a letter in Journal of Allergy and Clinical Immunology titled: “Oral phenylephrine: An

ineffective replacement for pseudoephedrine?” 2 The letter questions the effectiveness of PE for

nasal congestion based upon the results of multiple double blind, placebo-controlled studies, that

show PE was no more effective than placebo in reducing nasal airway resistance. Moreover, the

letter notes that the studies relied on by the FDA to approve PE were unpublished, manufacturer-

sponsored studies conducted by commercial testing laboratories.

           31.      On February 1, 2007, three professors from the University of Florida, Leslie

Hendeles (PharmD, Professor, Department of Pharmacy and Pediatrics), Randy C. Hatton

(PharmD FCCP BCPS, Co-Director, Drug Information and Pharmacy Resource Center, College



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    https://www.jacionline.org/article/S0091-6749(06)00633-6/fulltext

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         Case
            2:23-cv-21051
              MDL No. 3089Document
                            Document
                                   1 173-3
                                      Filed 10/11/23
                                             Filed 10/13/23
                                                      Page 9Page
                                                             of 36 11
                                                                   PageID:
                                                                      of 38 9




of Pharmacy Clinical Professor) and Almut G. Winterstein (PhD, Assistant Professor, Department

of Pharmacy Healthcare Administration) filed a Citizens Petition with the FDA concerning PE

Drugs. 3

        32.      Specifically, the Petition requested the dosage of oral phenylephrine (PE) be re-

evaluated and that approval for use in children under twelve years old be withdrawn. 4 The Petition

further stated that there was no data on the safety of PE in children under twelve years old. 5

        33.      As a result of the 2007 Citizens Petition, the FDA’s Nonprescription Drugs

Advisory Committee met on December 14, 2007, and concluded that the products could continue

to be sold, but 9 of 12 of the committee members voted that “new studies on response to higher

doses were required.” Further, a member of the Division of Nonprescription Drug Products

expressed a preference for subjective symptom scores over objective measurement of nasal airway

resistance to support the use of PE for temporary relief of nasal congestion. 6

        34.      Schering-Plough Pharmaceuticals responded to the recommendations of the

Committee and the Division by conducting a multicenter, phase 2, parallel trial among 539 adults

with seasonal allergic rhinitis. The results of the study revealed no significant differences between

placebo and active treatment groups. 7

        35.      Another       manufacturer,       McNeil       Consumer        Healthcare,      conducted    a

pharmacokinetic, safety and cardiovascular tolerability study of PE. Similarly, this study revealed

no difference in safety endpoints between placebo and 10, 20 and 30 mg of PE even though

systemic exposure increased disproportionately with dose. According to the petitioners, “This is


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           2:23-cv-21051
              MDL No. 3089
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                            Document
                                  1 Filed
                                     173-310/11/23
                                            Filed 10/13/23
                                                    Page 10Page
                                                            of 36 12
                                                                  PageID:
                                                                     of 38 10




noteworthy since both the relief of congestion and systemic endpoints such as change in blood

pressure and pulse are mediated by alpha adrenergic stimulation. The absence of a significant

effect on the latter at the higher doses suggest that the concentrations reached are not sufficient to

stimulate alpha adrenergic receptors.” 8

        36.      On November 4, 2015, yet another Citizens Petition was filed by two professors at

the University of Florida, Dr. Leslie Hendeles, PharmD Professor, Pharmacy and Pediatrics, and

Dr. Randy Hatton, PharmD FCCP BCPS Clinical Professor, Department of Pharmacotherapy and

Translational Research College of Pharmacy. The petition asked the FDA “to remove oral

phenylephrine from the Final Monograph for OTC nasal decongestant products.” Specifically, the

petition asked the FDA to remove Phenylephrine and to remove phenylephrine bitartrate (PEB),

“both individually and in combination drug products in an effervescent dosage form.” 9

        37.      According to the 2015 Citizens Petition, “Two additional studies published in 2009

provide further evidence of the absence of a decongestant effect from the FDA-approved

nonprescription dose of 10 mg. Horak et al conducted a 3-way crossover, placebo-controlled study

of the nasal decongestant effect of single doses of PE 12 mg, pseudoephedrine 60 mg or placebo

among 39 grass-sensitive adults exposed to grass pollen in the Vienna Challenge Chamber. PE

was not significantly different from placebo in the mean change in subjective nasal congestion

scores whereas pseudoephedrine, a positive control in the study, decreased congestion significantly

greater than placebo and PE.




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  https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-Petition-re-oral-
phenylephrine.pdf
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  https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-Petition-re-oral-
phenylephrine.pdf

                                                        10
      Case
         Case
           2:23-cv-21051
              MDL No. 3089
                         Document
                            Document
                                  1 Filed
                                     173-310/11/23
                                            Filed 10/13/23
                                                    Page 11Page
                                                            of 36 13
                                                                  PageID:
                                                                     of 38 11




        38.      The 2015 Citizens Petition was further supported by the American Academy of

Allergy, Asthma & Immunology. 10

        39.      On information and belief, at this time, Defendants did not do additional testing and

quality oversight of their PE Drugs to ascertain the true effectiveness for treating nasal congestion,

or deliberately suppressed or avoided doing so. Had they done so and disclosed the results, the

data would lead to the same inexorable conclusion reached on September 12, 2023, by an FDA

Advisory Panel: PE administered orally is not effective for treating nasal congestion at all.

        40.      On September 12, 2023, the FDA Advisory Panel on the Division of

Nonprescription Drugs recommended that PE Drugs not be sold due to lack of efficacy. 11

        41.      In the FDA’s Briefing Document regarding the hearing that took place on

September 11-12, 2023, the FDA notes that it has been reviewing the clinical studies on the

efficacy of PE since the 2007 Citizens Petition.12

        42.      The Advisory Panel concluded:

                 In accordance with the effectiveness standard for determining that a
                 category of over-the-counter (OTC) drugs is generally recognized
                 as safe and effective that is set forth in 21 CFR § 330.10(a)(4)(ii),
                 which defines effectiveness as: “a reasonable expectation that, in a
                 significant proportion of the target population, the pharmacological
                 effect of the drug, when used under adequate directions for use and
                 warnings against unsafe use, will provide clinically significant relief
                 of the type claimed”, we have now come to the initial conclusion
                 that orally administered PE is not effective as a nasal decongestant
                 at the monographed dosage (10 mg of PE hydrochloride every 4
                 hours) as well as at doses up to 40 mg (dosed every 4 hours). 13




10
   https://college.acaai.org/wp-content/uploads/2022/05/oral-phenylephrine-final-statement-insupport-of-citizens-
petition-05-4-22.pdf
11
   https://www.fda.gov/media/171915/download
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   Id.
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   Id.

                                                        11
      Case
         Case
           2:23-cv-21051
              MDL No. 3089
                         Document
                            Document
                                  1 Filed
                                     173-310/11/23
                                            Filed 10/13/23
                                                    Page 12Page
                                                            of 36 14
                                                                  PageID:
                                                                     of 38 12




        43.     The Advisory Panel met for two days on September 11-12, 2023. During this

meeting, FDA scientists presented the results of five studies conducted over the past two decades

on the effectiveness of oral phenylephrine. All the studies concluded that the decongestant was no

more effective than a placebo. The Advisory Panel further reevaluated the initial findings which

supported PE Drugs’ use and found that the results were inconsistent, did not meet modern study

design standards and further that these studies may have data integrity issues:

                “In conclusion, we do believe that the original studies were
                methodologically unsound and do not match today’s standard. By
                contrast, we believe the new data are credible and do not provide
                evidence that oral phenylephrine is effective as a nasal
                decongestant,” said Dr. Peter Starke, an FDA official who led the
                review of phenylephrine. 14

        44.     At the conclusion of the meetings, members voted unanimously (16-0) that PE

drugs were ineffective, paving the way for the drugs to be removed from the market.

        45.     Following this vote by the Advisory Panel, the FDA will now need to decide

whether PE Drugs can still be sold and whether drugs should lose their designation as Generally

Recognized as Safe and Effective (GRASE).

     V. Misbranded Drugs Are Illegal and Worthless

        46.     Any drug not manufactured in accordance with cGMPs is deemed “adulterated” or

“misbranded” and may not be distributed or sold in the United States. See 21 U.S.C. §§ 331(a),

351(a)(2)(B). States have enacted laws adopting or mirroring these federal standards.

        47.     A drug is misbranded 15:

                a.      “If its labeling is false or misleading in any particular”;

                b.      “If any word, statement, or other information required … to appear on the
                        label or labeling is not prominently placed thereon…in such terms as to

14
   https://www.nbcnews.com/health/health-news/fda-panel-says-common-counter-decongestantphneylephrine-
doesnt-work-rcna104424
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   21 U.S.C. § 352

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     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 13Page
                                                           of 36 15
                                                                 PageID:
                                                                    of 38 13




                      render it likely to be read and understood by the ordinary individual under
                      customary conditions of purchase and use”;

               c.     If the labeling does not contain, among other things, “the proportion of each
                      active ingredient”;

               d.     “Unless its labeling bears (1) adequate directions for use; and (2) such
                      adequate warnings … against unsafe dosage or methods or duration of
                      administration or application, in such manner and form, as are necessary for
                      the protection of users”;

               e.     “If it purports to be a drug the name of which is recognized in an official
                      compendium, unless it is packaged and labeled as prescribed therein”;

               f.     “if it is an imitation of another drug”;

               g.     “if it is offered for sale under the name of another drug”;

               h.     “If it is dangerous to health when used in the dosage or manner, or with the
                      frequency or duration prescribed, recommended, or suggested in the
                      labeling thereof”;

               i.     If the drug is advertised incorrectly in any manner; and/or

               j.     If the drug’s “packaging or labeling is in violation of an applicable
                      regulation.”

       48.     The manufacture and sale of any misbranded drug is prohibited under federal law.

21 U.S.C. § 331(g).

       49.     The introduction into commerce of any misbranded drug is also prohibited. 21

U.S.C. § 331(a).

       50.     Similarly, the receipt in interstate commerce of any misbranded or misbranded drug

is also unlawful. 21 U.S.C. § 331(c).

       51.     As articulated in this Complaint, Defendants’ sale of PE Drugs that were not

effective for treating the indications identified were misbranded in violation of the above-cited

reasons.




                                                13
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 14Page
                                                           of 36 16
                                                                 PageID:
                                                                    of 38 14




       52.     References to federal law in this Complaint are not an attempt to enforce it, but to

demonstrate that Plaintiffs’ state-law tort claims do not impose any additional obligations on any

Defendants, beyond what is already required of them under federal law.

       53.     A manufacturer must give adequate directions for the use of a pharmaceutical drug

so that a “layman can use a drug safely and for the purposes for which it is intended,” 21 C.F.R. §

201.5, and conform to requirements governing the appearance of the label, 21 C.F.R. § 801.15..

       54.     “Labeling” encompasses all written, printed or graphic material accompanying the

drug or device, and therefore broadly includes nearly every form of promotional activity, including

not only “package inserts” but also advertising. 65 FR 14286.

       55.     Because the labels on Defendants’ PE drugs indicate that PE can be used to treat

nasal congestion, the subject drugs were misbranded.

       56.     It is unlawful to introduce a misbranded drug into interstate commerce. Thus, the

PE Drugs ingested by Plaintiffs were unlawfully distributed and sold.

  VI. Plaintiffs and Class Members Have Been Injured by Defendants’ Conduct

       57.     Each Defendants made and breached express and implied warranties and made

affirmative misrepresentations and omissions to consumers about their PE Drugs.

       58.     Plaintiffs’ and Class Members’ causes of action accrued on the date the FDA

announced that PE was not effective at treating the indications identified in Defendants’ PE Drug

labeling and packaging, that is, September 12, 2023.

       59.     Alternatively, any statute of limitations or prescriptive period is equitably tolled

because of fraudulent concealment. Each Defendants affirmatively concealed from Plaintiffs and

Class Members its unlawful conduct. Each Defendants affirmatively strove to avoid disclosing




                                                14
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 15Page
                                                           of 36 17
                                                                 PageID:
                                                                    of 38 15




their knowledge of the ineffectiveness of their respective PE Drugs for treating the indications

identified, and that such products were misbranded.

       60.     For instance, Defendants did not reveal to the public that their PE Drugs were not

effective at treating the indications identified, despite their superior knowledge and position as the

manufacturer or seller of the PE Drugs.

       61.     To the contrary, Defendants continued to represent and warrant that their PE Drugs

were effective for treating the indications identified, principally nasal decongestion.

       62.     Because of this, Plaintiffs and Class Members did not discover, nor could they have

discovered through reasonable and ordinarily diligence, Defendants’ deceptive, fraudulent, and

unlawful conduct alleged herein. Defendants’ false and misleading explanations, or obfuscations,

lulled Plaintiffs and Class Members into believing that the prices paid for their PE Drugs were

appropriate for what they believed to be non-misbranded drugs despite their exercise of reasonable

and ordinary diligence.

       63.     As a result of each Defendants’ affirmative and other acts of concealment, any

applicable statute of limitations affecting the rights of Plaintiffs and Class Members has been

tolled. Plaintiffs and Class Members exercised reasonable diligence by among other things

promptly investigating and bringing the allegations contained herein. Despite these or other efforts,

Plaintiffs and Class Members were unable to discover, and could not have discovered, the unlawful

conduct alleged herein at the time it occurred or at an earlier time so as to enable this complaint to

be filed sooner.

                                    CLASS ALLEGATIONS

       64.     This action is brought as a class action pursuant to Fed. R. Civ. P. 23.

       65.     The proposed Class is defined as follows:



                                                 15
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 16Page
                                                           of 36 18
                                                                 PageID:
                                                                    of 38 16




               Nationwide Class: All individuals and entities in the United States
               and its territories and possessions who paid any amount of money
               for any Defendants’ PE Drugs (intended for personal or household
               use).

               Alabama Subclass: All individuals and entities in Alabama who
               paid any amount of money for PE Drugs (intended for personal or
               household use).

               California Subclass: All individuals and entities in California who
               paid any amount of money for PE Drugs (intended for personal or
               household use).

               Florida Subclass: All individuals and entities in Florida who paid
               any amount of money for PE Drugs (intended for personal or
               household use).

               Minnesota Subclass: All individuals and entities in Minnesota who
               paid any amount of money for PE Drugs (intended for personal or
               household use).

               New York Subclass: All individuals and entities in New York who
               paid any amount of money for PE Drugs (intended for personal or
               household use).

               West Virginia Subclass: All individuals and entities in West
               Virginia who paid any amount of money for PE Drugs (intended for
               personal or household use).

               Wisconsin Subclass: All individuals and entities in Wisconsin who
               paid any amount of money for PE Drugs (intended for personal or
               household use).

       66.     The proposed Class excludes the following: Defendants, its affiliates, and its

current and former employees, officers and directors, and the Judge assigned to this case.

       67.     The definition of the proposed Class may be modified, changed, or expanded based

upon discovery and further investigation.

       68.     Numerosity: The proposed Class is so numerous that joinder of all members is

impracticable. The proposed Class may be ascertained through business records.




                                               16
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 17Page
                                                           of 36 19
                                                                 PageID:
                                                                    of 38 17




       69.     Commonality: Questions of law or fact common to the proposed Class include,

without limitation:

               a.      Whether the PE Drugs are defective;

               b.      Whether a reasonable consumer would consider the misbranding of the PE
                       Drugs to be material;

               c.      Whether Defendants knew or should have known that the PE Drugs were
                       misbranded;

               d.      Whether Defendants failed to disclose that the PE Drugs were misbranded;

               e.      Whether Defendants concealed that the PE Drugs were misbranded;

               f.      Whether Defendants engaged in unfair or deceptive trade practices;

               g.      Whether Defendants breached an express warranty;

               h.      Whether Defendants breached an implied warranty;

               i.      Whether Defendants engaged in fraud;

               j.      Whether Defendants breached a duty of care; and

               k.      Whether Defendants were unjustly enriched.

       70.     Typicality: Plaintiffs’ claims are typical of the claims of Class Members. Plaintiffs

and Class Members were injured and suffered damages in substantially the same manner, have the

same claims against Defendants relating to the same course of conduct, and are entitled to relief

under the same legal theories.

       71.     Adequacy: Plaintiffs will fairly and adequately protect the interests of the proposed

Class and have no interests antagonistic to those of the proposed Class. Plaintiffs’ counsel are

experienced in the prosecution of complex class actions, including actions with issues, claims, and

defenses similar to the present case.




                                                17
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 18Page
                                                           of 36 20
                                                                 PageID:
                                                                    of 38 18




       72.      Predominance and superiority: Questions of law or fact common to Class Members

predominate over any questions affecting individual members. A class action is superior to other

available methods for the fair and efficient adjudication of this case because individual joinder of

all members of the proposed Class is impracticable and the amount at issue for each Class Member

would not justify the cost of litigating individual claims. Should individual Class Members be

required to bring separate actions, this Court would be confronted with a multiplicity of lawsuits

burdening the court system while also creating the risk of inconsistent rulings and contradictory

judgments. In contrast to proceeding on a case-by-case basis, in which inconsistent results will

magnify the delay and expense to all parties and the court system, this class action presents far

fewer management difficulties while providing unitary adjudication, economies of scale and

comprehensive supervision by a single court. There are no difficulties that are likely to be

encountered in the management of this action that would preclude its maintenance as a class action.

       73.      Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(3).

       74.      Defendants has acted, and refused to act, on grounds generally applicable to the

proposed Class, thereby making appropriate final equitable relief with respect to the proposed

Class as a whole.

       75.      Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(2).

                                     CAUSES OF ACTION

                                       COUNT I
                            BREACH OF EXPRESS WARRANTY
                                 (on behalf of the Class)

       76.      All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.
                                                18
       Case
          Case
            2:23-cv-21051
               MDL No. 3089
                          Document
                             Document
                                   1 Filed
                                      173-310/11/23
                                             Filed 10/13/23
                                                     Page 19Page
                                                             of 36 21
                                                                   PageID:
                                                                      of 38 19




        77.    Defendants represented and warranted through its advertising, labeling, and other

statements that its PE Drugs were fit for their ordinary purpose, effective in treating their listed

indications, including nasal congestion, and not misbranded.

        78.    Defendants’ representations and written warranty are an express warranty within

the meaning of U.C.C. § 2-313.

        79.    All fifty States and the District of Columbia and Puerto Rico have codified and

adopted U.C.C. § 2-313: Ala. Code § 7-2-313; Alaska Stat. § 45.02.313; Ariz. Rev. Stat. Ann. §

47-2313; Ark. Code. Ann. § 4-2-313; Cal. Com. Code § 2313; Colo. Rev. Stat. § 4-2-313; Conn.

Gen. Stat. Ann. § 42a-2-313; 6 Del. Code. § 2-313; D.C. Code. § 28:2-313; Fla. Stat. Ann. §

672.313; Ga. Code. Ann. § 11-2-313; Haw. Rev. Stat. § 490:2-313; Idaho Code § 28-2-313; 810

Ill. Comp. Stat. Ann. 5/2-313; Ind. Code Ann. § 26-1-2-313; Kan. Stat. Ann. § 84-2-313; Ky. Rev.

Stat. Ann. § 355.2-313; 11 Me. Rev. Stat. Ann. § 2-313; Md. Code. Ann. § 2-313; Mass. Gen. Law

Ch. 106 § 2-313; Mich. Comp. Laws Ann. § 440.2313; Minn. Stat. Ann. § 336.2-313; Miss. Code

Ann. § 75-2-313; Mo. Rev. Stat. § 400.2-313; Mont. Code Ann. § 30-2-313; Nev. Rev. Stat. U.C.C.

§ 104.2313; N.H. Rev. Ann. § 382-A:2-313; N.J. Stat. Ann. § 12A:2-313; N.M. Stat. Ann. § 55-

2-313; N.Y. U.C.C. Law § 2-313; N.C. Gen. Stat. Ann. § 25-2-313; N.D. Stat. § 41-02-313; Ohio

Rev. Code Ann. § 1302.26; Okla. Stat. tit. 12A § 2-313; Or. Rev. Stat. § 72.3130; 13 Pa. C.S. §

2313; P.R. Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws § 6A-2-313; S.C. Code Ann. § 36-

2-313; S.D. Stat. § 57A-2-313; Tenn. Code Ann. § 47-2-313; Tex. Bus. & Com. Code Ann. § 2-

313; Utah Code Ann. § 70A-2-313; Va. Code § 8.2-313; Vt. Stat. Ann. 9A § 2-313; W. Va. Code

§ 46-2-313; Wash. Rev. Code § 62A 2-313; Wis. Stat. Ann. § 402.313; and Wyo. Stat. § 34.1-2-

313.




                                                19
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 20Page
                                                           of 36 22
                                                                 PageID:
                                                                    of 38 20




       80.     The PE Drugs fail to conform to Defendants’ representations that formed part of

the basis of the bargain because they are ineffective in treating nasal congestion.

       81.     Defendants breached the warranty because they are unwilling or unable to provide

a remedy for the ineffectiveness and misbranding of the PE Drugs within a reasonable time.

       82.     Defendants’ breach deprived Plaintiffs and Class Members of the benefit of the

bargain.

       83.     Defendants’ attempt to disclaim or limit the warranty is unconscionable and

unenforceable under the circumstances here because Defendants knowingly and deceptively sold

ineffective and misbranded PE Drugs without informing consumers.

       84.     A gross disparity in bargaining power existed between Defendants and purchasers

of the PE Drugs.

       85.     The essential purpose of the warranty failed because Plaintiffs and Class Members

are unable to reasonably obtain a workable remedy, so Plaintiffs and Class Members are entitled

to a remedy that is not limited by the terms of the warranty. U.C.C. § 2-719(2).

       86.     Plaintiffs and Class Members have complied with all obligations under the warranty

or otherwise have been excused from performance of said obligations as a result of Defendants’

conduct described herein.

       87.     Plaintiffs and Class Members were the intended third-party beneficiaries of a

Defendants’ contracts with suppliers, manufacturers, resellers, and distributors of the PE Drugs as

Plaintiffs and Class Members were the intended end users of the PE Drugs.

       88.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                      COUNT II
                            BREACH OF IMPLIED WARRANTY

                                                 20
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 21Page
                                                           of 36 23
                                                                 PageID:
                                                                    of 38 21




                                     (on behalf of the Class)

       89.      All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       90.      Defendants impliedly warranted that its PE Drugs were fit for their ordinary

purpose, effective in treating their listed indications, including nasal congestion, and not

misbranded.

       91.      Defendants’ sale of the PE Drugs created an implied warranty within the meaning

of U.C.C. § 2-314.

       92.      All fifty States and the District of Columbia and Puerto Rico have codified and

adopted U.C.C. § 2-314: Ala. Code § 7-2-314; Alaska Stat. § 45.02.314; Ariz. Rev. Stat. Ann. §

47-2314; Ark. Code. Ann. § 4-2-314; Cal. Com. Code § 2314; Colo. Rev. Stat. § 4-2-314; Conn.

Gen. Stat. Ann. § 42a-2-314; 6 Del. Code. § 2-314; D.C. Code. § 28:2-314; Fla. Stat. Ann. §

672.314; Ga. Code. Ann. § 11-2-314; Haw. Rev. Stat. § 490:2-314; Idaho Code § 28-2-314; 810

Ill. Comp. Stat. Ann. 5/2-314; Kan. Stat. Ann. § 84-2-314; Ky. Rev. Stat. Ann. § 355.2-314; La.

Civ. Code Art. 2520; 11 Me. Rev. Stat. Ann. § 2-314; Md. Code. Ann. § 2-314; Mass. Gen. Law

Ch. 106 § 2-314; Mich. Comp. Laws Ann. § 440.2314; Minn. Stat. Ann. § 336.2-314; Miss. Code

Ann. § 75-2-314; Mo. Rev. Stat. § 400.2-314; Mont. Code Ann. § 30-2-314; Nev. Rev. Stat. U.C.C.

§ 104.2314; N.H. Rev. Ann. § 382-A:2-314; N.J. Stat. Ann. § 12A:2-314; N.M. Stat. Ann. § 55-

2-314; N.Y. U.C.C. Law § 2-314; N.C. Gen. Stat. Ann. § 25-2-314; N.D. Stat. § 41-02-314; Ohio

Rev. Code Ann. § 1302.27; Okla. Stat. tit. 12A § 2-314; Or. Rev. Stat. § 72.3140; 13 Pa. C.S. §

2314; P.R. Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws § 6A-2-314; S.C. Code Ann. § 36-

2-314; S.D. Stat. § 57A-2-314; Tenn. Code Ann. § 47-2-314; Tex. Bus. & Com. Code Ann. § 2-

314; Utah Code Ann. § 70A-2-314; Va. Code § 8.2-314; Vt. Stat. Ann. 9A § 2-314; W. Va. Code



                                               21
       Case
          Case
            2:23-cv-21051
               MDL No. 3089
                          Document
                             Document
                                   1 Filed
                                      173-310/11/23
                                             Filed 10/13/23
                                                     Page 22Page
                                                             of 36 24
                                                                   PageID:
                                                                      of 38 22




§ 46-2-314; Wash. Rev. Code § 62A 2-314; Wis. Stat. Ann. § 402.314; and Wyo. Stat. § 34.1-2-

314.

        93.    The PE Drugs are unmerchantable, not fit for their ordinary purpose, and do not

conform to standards generally applicable for such drugs because they are ineffective in treating

nasal congestion.

        94.    Defendants breached the warranty because they are unwilling or unable to provide

a remedy for the ineffectiveness and misbranding of the PE Drugs within a reasonable time.

        95.    Defendants’ breach deprived Plaintiffs and Class Members of the benefit of the

bargain.

        96.    Defendants’ attempt to disclaim or limit the warranty is unconscionable and

unenforceable under the circumstances here because Defendants knowingly and deceptively sold

ineffective and misbranded PE Drugs without informing consumers.

        97.    A gross disparity in bargaining power existed between Defendants and purchasers

of the PE Drugs.

        98.    The essential purpose of the warranty failed because Plaintiffs and Class Members

are unable to reasonably obtain a workable remedy, so Plaintiffs and Class Members are entitled

to a remedy that is not limited by the terms of the warranty. U.C.C. § 2-719(2).

        99.    Plaintiffs and Class Members have complied with all obligations under the warranty

or otherwise have been excused from performance of said obligations as a result of Defendants’

conduct described herein.

        100.   Plaintiffs and Class Members were the intended third-party beneficiaries of a

Defendants’ contracts with suppliers, manufacturers, resellers, and distributors of the PE Drugs as

Plaintiffs and Class Members were the intended end users of the PE Drugs.



                                                22
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 23Page
                                                           of 36 25
                                                                 PageID:
                                                                    of 38 23




       101.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                     COUNT III
                           MAGNUSON-MOSS WARRANTY ACT
                                15 U.S.C. § 2301 et seq.
                                (on behalf of the Class)

       102.     All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       103.     Defendants expressly and impliedly warranted the PE Drugs and breached these

warranties, as alleged above.

       104.     Defendants’ breach of these warranties is a violation of the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301 et seq.

       105.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

       106.     Plaintiffs and Class Members are entitle an award of damages and attorneys’ fees

and costs pursuant to 15 U.S.C. § 2310(d)(2).

                                           COUNT IV
                                            FRAUD
                                     (on behalf of the Class)

       107.     All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       108.     Defendants represented to Plaintiffs and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.

       109.     The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.




                                                23
        Case
           Case
             2:23-cv-21051
                MDL No. 3089
                           Document
                              Document
                                    1 Filed
                                       173-310/11/23
                                              Filed 10/13/23
                                                      Page 24Page
                                                              of 36 26
                                                                    PageID:
                                                                       of 38 24




         110.   Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.

         111.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

         112.   The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to

purchase the PE Drugs or pay a lower price.

         113.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiffs and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

         114.   Plaintiffs and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

         115.   Plaintiffs and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

         116.   As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                    COUNT V
                  NEGLIGENT MISREPRESENTATION AND OMISSION
                              (on behalf of the Class)

         117.   All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

         118.   Defendants had a duty to Plaintiffs and Class Members to accurately represent the

effectiveness of the PE Drugs in treating nasal congestion.



                                                24
        Case
           Case
             2:23-cv-21051
                MDL No. 3089
                           Document
                              Document
                                    1 Filed
                                       173-310/11/23
                                              Filed 10/13/23
                                                      Page 25Page
                                                              of 36 27
                                                                    PageID:
                                                                       of 38 25




         119.   Defendants represented to Plaintiffs and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.

         120.   The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.

         121.   Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.

         122.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

         123.   The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to

purchase the PE Drugs or pay a lower price.

         124.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiffs and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

         125.   Defendants failed to exercise reasonable care in misrepresenting, concealing, and

omitting material information concerning the effectiveness of the PE Drugs, thereby breaching

their duties to Plaintiffs and Class Members.

         126.   Plaintiffs and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

         127.   Plaintiffs and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.




                                                25
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 26Page
                                                           of 36 28
                                                                 PageID:
                                                                    of 38 26




       128.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                           COUNT VI
                                         NEGLIGENCE
                                     (on behalf of the Class)

       129.     All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       130.     Defendants had a duty to Plaintiffs and Class Members to accurately represent the

effectiveness of the PE Drugs in treating nasal congestion.

       131.     Defendants represented to Plaintiffs and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.

       132.     The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.

       133.     Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.

       134.     Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

       135.     The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to

purchase the PE Drugs or pay a lower price.

       136.     Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiffs and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.




                                                26
        Case
           Case
             2:23-cv-21051
                MDL No. 3089
                           Document
                              Document
                                    1 Filed
                                       173-310/11/23
                                              Filed 10/13/23
                                                      Page 27Page
                                                              of 36 29
                                                                    PageID:
                                                                       of 38 27




         137.   Defendants failed to exercise reasonable care in misrepresenting, concealing, and

omitting material information concerning the effectiveness of the PE Drugs, thereby breaching

their duties to Plaintiffs and Class Members.

         138.   Plaintiffs and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

         139.   Plaintiffs and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

         140.   As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                          COUNT VII
                                     NEGLIGENCE PER SE
                                     (on behalf of the Class)

         141.   All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

         142.   Defendants had a duty to Plaintiffs and Class Members to accurately represent the

effectiveness of the PE Drugs in treating nasal congestion.

         143.   Defendants’ duties arise out of, inter alia, the following state statutes enforcing the

efficacy and branding of drugs:

                a.     Alabama Code §§ 20-1-24 and -27(1);

                b.     Alaska Statutes § 17.20.290(a)(1);

                c.     Arizona Statutes §§ 32-1965(1), (2) and -1966(3);

                d.     Arkansas Code § 20-56-215(1);

                e.     California Health and Safety Code §§ 111295 and 111400;

                f.     Colorado Statutes §§ 25-5-403(1)(a),(b) and -414(1)(c);
                                                  27
Case
   Case
     2:23-cv-21051
        MDL No. 3089
                   Document
                      Document
                            1 Filed
                               173-310/11/23
                                      Filed 10/13/23
                                              Page 28Page
                                                      of 36 30
                                                            PageID:
                                                               of 38 28




       g.     Title 16, Delaware Code §§ 3302 and 3303(2);

       h.     District of Columbia Code § 48-702(2);

       i.     Florida Statutes §§ 499.005(1) and .006(3);

       j.     Georgia Code § 26-3-3(1);

       k.     Hawaii Revised Statutes §§ 328-6(1) and -14(1)(B)(ii);

       l.     Idaho Code § 37-115(a);

       m.     Chapter 410, Illinois Statutes §§ 620/3.1 and /14(a)(2)(B);

       n.     Iowa Code §§ 126.3(1) and .9(1)(c);

       o.     Kentucky Statutes § 217.175(1);

       p.     Maryland Code, Health–General §§ 21-216(c)(5)(2) and -256(1);

       q.     Massachusetts General Laws chapter 94 §§ 186 and 190;

       r.     Minnesota Statutes §§ 151.34(1) and .35(1);

       s.     Missouri Statutes § 196.015(1);

       t.     Montana Code §§ § 50-31-305(3) and -501(1);

       u.     Nebraska Revised Statutes §§ 71-2461(2) and -2481;

       v.     Nevada Statutes § 585.520(1);

       w.     New Hampshire Revised Statutes §§ 146:1(I) and :4(V);

       x.     New Mexico Statutes §§ 26-1-3(A) and -10(A);

       y.     New York Education Law § 6811;

       z.     North Dakota Century Code §§ 19-02.1-02(1) and .1-13(3);

       aa.    Ohio Code § 3715.52(A)(1);

       bb.    Oklahoma Statutes title 63 § 1-1402(a);

       cc.    Title 35, Pennsylvania Statutes § 780-113(a)(1);



                                        28
     Case
        Case
          2:23-cv-21051
             MDL No. 3089
                        Document
                           Document
                                 1 Filed
                                    173-310/11/23
                                           Filed 10/13/23
                                                   Page 29Page
                                                           of 36 31
                                                                 PageID:
                                                                    of 38 29




                dd.      Title 21, Rhode Island General Laws § 21-3-3(1);

                ee.      South Carolina Code §§ 39-23-30(a)(2)(B) and -80(A)(1);

                ff.      South Dakota Code §§ 39-15-3 and -10;

                gg.      Title 18, Vermont Statutes § 4052(1);

                hh.      Virginia Code § 54.1-3457(1);

                ii.      West Virginia Code §§ 16-7-1 and -2(a)(3); and

                jj.      Wyoming Statutes §§ 35-7-111(a)(i)–(iv), (vi) and -116.

       144.     Defendants violated these statutes by representing to Plaintiffs and Class Members

that the PE Drugs were effective for treating nasal congestion and were not misbranded.

       145.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                           COUNT VIII
                                     UNJUST ENRICHMENT
                                      (on behalf of the Class)

       146.     All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

       147.     Defendants represented to Plaintiffs and Class Members that the PE Drugs were

effective in treating nasal congestion.

       148.     The PE Drugs fail to conform to Defendants’ representations and were therefore of

a substantially lesser quality and value than Defendants represented.

       149.     Defendants knew or should have known that the PE Drugs could not conform to

their representations.

       150.     Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.



                                                 29
        Case
           Case
             2:23-cv-21051
                MDL No. 3089
                           Document
                              Document
                                    1 Filed
                                       173-310/11/23
                                              Filed 10/13/23
                                                      Page 30Page
                                                              of 36 32
                                                                    PageID:
                                                                       of 38 30




         151.   The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to

purchase the PE Drugs or pay a lower price.

         152.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiffs and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

         153.   Plaintiffs and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

         154.   Plaintiffs and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

         155.   Plaintiffs and Class Members conferred substantial benefits on Defendants by

purchasing misbranded and ineffective PE Drugs at a premium without receiving a product that

conformed to Defendants’ representations.

         156.   Defendants knowingly and willingly accepted and enjoyed these benefits.

         157.   Defendants’ retention of these benefits would be inequitable.

         158.   As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                     COUNT IX
                VIOLATIONS OF STATE CONSUMER PROTECTION LAWS
                               (on behalf of the Class)

         159.   All preceding paragraphs are hereby incorporated by reference as though fully set

forth herein.

         160.   Defendants represented to Plaintiffs and Class Members that the PE Drugs were

effective for treating nasal congestion and were not misbranded.
                                                30
        Case
           Case
             2:23-cv-21051
                MDL No. 3089
                           Document
                              Document
                                    1 Filed
                                       173-310/11/23
                                              Filed 10/13/23
                                                      Page 31Page
                                                              of 36 33
                                                                    PageID:
                                                                       of 38 31




         161.   The PE Drugs are unable to treat nasal congestion as Defendants represented and

are therefore of a substantially lesser quality and value than Defendants represented.

         162.   Defendants knew that the PE Drugs could not conform to their representations

because PE is ineffective in treating nasal congestion.

         163.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of PE.

         164.   The facts mispresented, concealed, and omitted by Defendants are material because

a reasonable consumer would have considered them to be important in deciding whether to

purchase the PE Drugs or pay a lower price.

         165.   Defendants mispresented, concealed, and omitted material information concerning

the effectiveness of the PE Drugs in order to induce Plaintiffs and Class Members to purchase the

PE Drugs at a substantially higher price than what they would have paid.

         166.   Plaintiffs and Class Members reasonably and justifiably relied on Defendants’

representations and advertisements when purchasing the PE Drugs.

         167.   Plaintiffs and Class Members would not have purchased the PE Drugs if they knew

that PE was not effective in treating nasal congestion, or they would have only paid substantially

less.

         168.   Defendants’ conduct violates state consumer protection statutes as follows:

                a.     Defendants engaged in unfair competition or unfair or deceptive acts or
                       practices in violation of Ala. Code § 8-19-1, et seq.;

                b.     Defendants engaged in unfair competition or unfair or deceptive acts or
                       practices in violation of Alaska Stat. § 45.50.471, et seq.;

                c.     Defendants engaged in unfair competition or unfair or deceptive acts or
                       practices in violation of Arizona Rev. Stat. § 44-1522, et seq.;




                                                31
Case
   Case
     2:23-cv-21051
        MDL No. 3089
                   Document
                      Document
                            1 Filed
                               173-310/11/23
                                      Filed 10/13/23
                                              Page 32Page
                                                      of 36 34
                                                            PageID:
                                                               of 38 32




       d.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Ark. Code § 4-88-101, et seq.;

       e.     Defendants violated the California Unfair Competition Law by engaging in
              unfair or deceptive acts or practices in violation of Cal. Bus. Prof. Code §
              17200, et seq.;

       f.     Defendants violated the California Consumers Legal Remedies Act, Cal.
              Civ. Code § 1750, et seq.;

       g.     Defendants violated the California False Advertising Law, Cal. Bus. & Prof.
              Code § 17500, et seq.;

       h.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Colo. Rev. Stat. § 6-1-105, et seq.;

       i.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Conn. Gen. Stat. § 42-110b, et seq.;

       j.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of 6 Del. Code § 2511, et seq.;

       k.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of D.C. Code § 28-3901, et seq.;

       l.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Fla. Stat. § 501.201, et seq.;

       m.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Ga. State 10-1-392, et seq.;

       n.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Haw. Rev. Stat. § 480, et seq.;

       o.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Idaho Code § 48-601, et seq.;

       p.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of 815 ILCS 505/1, et seq.;

       q.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Ind. Code Ann. § 24-5-0.5.1, et seq.;

       r.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Iowa Code Ann. § 714H, et seq.;



                                       32
Case
   Case
     2:23-cv-21051
        MDL No. 3089
                   Document
                      Document
                            1 Filed
                               173-310/11/23
                                      Filed 10/13/23
                                              Page 33Page
                                                      of 36 35
                                                            PageID:
                                                               of 38 33




       s.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Kan. Stat. § 50-623, et seq.;

       t.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Ky. Rev. Stat. § 367.110, et seq.;

       u.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of La. Rev. Stat. § 51:1401, et seq.;

       v.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of 5 Me. Rev. Stat. § 207, et seq.;

       w.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Md. Com. Law Code § 13-101, et seq.;

       x.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Mass. Gen. L. Ch. 93A, et seq.;

       y.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Mich. Stat. § 445.901, et seq.;

       z.     Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Minn. Stat. § 325F.67, et seq.;

       aa.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Miss. Code Ann. § 75-24-1, et seq.;

       bb.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Mo. Rev. Stat. § 407.0 10, et seq.;

       cc.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Mont. Code § 30-14-101, et seq.;

       dd.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Neb. Rev. Stat. § 59-1601, et seq.;

       ee.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Nev. Rev. Stat. § 598.0903, et seq.;

       ff.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of N.H. Rev. Stat. § 358-A:1, et seq.;

       gg.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of N.J. Stat. Ann. § 56:8-1, et seq.;




                                     33
Case
   Case
     2:23-cv-21051
        MDL No. 3089
                   Document
                      Document
                            1 Filed
                               173-310/11/23
                                      Filed 10/13/23
                                              Page 34Page
                                                      of 36 36
                                                            PageID:
                                                               of 38 34




       hh.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of N.M. Stat. Ann. § 57-12-1, et seq.;

       ii.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of N.Y. Gen. Bus. Law § 349, et seq.;

       jj.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of N.C. Gen. Stat. § 75-1.1, et seq.;

       kk.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of N.D. Cent. Code § 51-15-01, et seq.;

       ll.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Ohio Rev. Stat. § 1345.01, et seq.;

       mm.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Okla. Stat. tit. 15 § 751, et seq.;

       nn.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Or. Rev. Stat. § 646.605, et seq.;

       oo.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of 73 Pa. Stat. § 201-1, et seq.;

       pp.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of R.I. Gen. Laws § 6-13.1-1, et seq.;

       qq.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of S.C. Code Laws § 39-5-10, et seq.;

       rr.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of S.D. Code Laws § 37-24-1, et seq.;

       ss.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Tenn. Code § 47-18-101, et seq.;

       tt.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Tex. Bus. & Com. Code § 17.41, et seq.;

       uu.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Utah Code Ann. § 13-11-1, et seq.;

       vv.    Defendants engaged in unfair competition or unfair or deceptive acts or
              practices in violation of Vt. Stat. Ann. Tit. 9, § 2451, et seq.;




                                     34
    Case
       Case
         2:23-cv-21051
            MDL No. 3089
                       Document
                          Document
                                1 Filed
                                   173-310/11/23
                                          Filed 10/13/23
                                                  Page 35Page
                                                          of 36 37
                                                                PageID:
                                                                   of 38 35




             ww.    Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of Va. Code § 59.1-196, et seq.;

             xx.    Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of Wash. Rev. Code § 19.86.010, et seq.;

             yy.     Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of W. Va. Code § 46A-6-101, et seq.;

             zz.    Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of Wis. Stat. § 100.20, et seq.;

             aaa.   Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of Wyo. Stat. § 40-12-100, et seq.; and

             bbb.   Defendants engaged in unfair competition or unfair or deceptive acts or
                    practices in violation of 23 L.P.R.A. § 1001, et seq., the applicable statute
                    for the Commonwealth of Puerto Rico.

      169.   As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

Members have been injured and sustained damages.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for a judgment as follows:

             a.     An order certifying this action as a class action;

             b.     An order appointing Plaintiff as Class Representatives, and appointing
                    undersigned counsel as Class Counsel to represent the Class;

             c.     A declaration that Defendants are liable under each and every one of the
                    above-enumerated causes of action;

             d.     An order awarding compensatory damages, restitution, or refund of all
                    funds acquired by Defendants from Plaintiffs and Class Members as a result
                    of Defendants’ unlawful conduct as described above, including actual,
                    statutory, and punitive damages to the extent permitted by law in an amount
                    to be proven at trial;

             e.     An order awarding appropriate preliminary and final injunctive relief
                    against the conduct of Defendants as described above;




                                              35
    Case
       Case
         2:23-cv-21051
            MDL No. 3089
                       Document
                          Document
                                1 Filed
                                   173-310/11/23
                                          Filed 10/13/23
                                                  Page 36Page
                                                          of 36 38
                                                                PageID:
                                                                   of 38 36




             f.      An award of attorneys’ fees, expert witness fees, and costs, as provided by
                     applicable law or as would be reasonable from any recovery of monies
                     recovered for or benefits bestowed on the Class Members;

             g.      Interest as provided by law, including but not limited to pre-judgment and
                     post-judgment interest as provided by rule or statute; and

             h.      Such other and further relief as this Court may deem just, equitable, or
                     proper.

                                         JURY DEMAND

      Plaintiffs demand trial by jury.



Dated: October 11, 2023                           Respectfully submitted,

                                                  /s/ Michael M. Weinkowitz

                                                  Charles E. Schaffer
                                                  Michael M. Weinkowitz
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                                             36
